780 F.2d 1022
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.(The decision of the Court is referenced in a "Table of Decisions Without Reported Opinions" appearing in the Federal Reporter.)JANET LUCY, ET AL., Plaintiffs-Appellantsvs.AMOCO OIL COMPANY, Defendant-Appellee.
    84-1429
    United States Court of Appeals, Sixth Circuit.
    11/22/85
    AFFIRMED
    
      1
      E.D.Mich.
    
    ORDER
    
      2
      BEFORE:  MERRITT and WELLFORD, Circuit Judges; JOHNSTONE, District Judge.*
    
    
      3
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      4
      The Court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be, and it hereby is, affirmed.
    
    
      
        *
         The Honorable Edward H. Johnstone, United States District Judge, District of Western Kentucky, sitting by designation
      
    
    